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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                        CONDITIONAL TRANSFER ORDER (CTO −6)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 237 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:

   Feb 01, 2018

                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                 MDL No. 2804



                   SCHEDULE CTO−6 − TAG−ALONG ACTIONS



 DIST      DIV.      C.A.NO.       CASE CAPTION


ALABAMA SOUTHERN

                                   Baldwin County, Alabama v. Amerisourcebergen Drug
  ALS       1       18−00010       Corporation et al
                                   Mobile County Emergency Medical Services System
  ALS       1       18−00016       Rescue Squad, Inc. v. Actavis, LLC et al

ARKANSAS EASTERN

  ARE       5       18−00010       Drew Memorial Hospital Inc v. Purdue Pharma LP et al

ILLINOIS CENTRAL

                                   People of the State of Illinois et al v.
  ILC       1       18−01022       AmerisourceBergen Drug Corporation et al

INDIANA SOUTHERN

                                   CITY OF ALEXANDRIA, et al v. PURDUE PHARMA
  INS       1       18−00123       L.P. et al

KENTUCKY EASTERN

  KYE       7       18−00006       Knott v. Purdue Pharma L.P. et al             Opposed 1/31/18

LOUISIANA WESTERN

 LAW        2       18−00053       Craft v. Purdue Pharma L P et al
 LAW        2       18−00055       Hebert v. Purdue Pharma L P et al
 LAW        5       18−00054       Richardson v. Purdue Pharma L P et al

MISSISSIPPI SOUTHERN

                                   Forrest County, Mississippi v. Amerisourcebergen Drug
  MSS       2       18−00009       Corporation et al

NEW YORK SOUTHERN
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                                   Teamster Local 237 Retirees' Benefit Fund, et al v.
  NYS       1       18−00336       Purdue Pharma L.P., et al

NORTH CAROLINA WESTERN

                                   Catawba County North Carolina v. AmerisourceBergen
 NCW        5       18−00007       Drug Corporation et al

OHIO SOUTHERN

  OHS       2       18−00037       Jefferson County, Ohio v. Purdue Pharma L.P. et alOpposed 1/31/18
                                   Muskingum County Board of County Commissioners v.
  OHS       2       18−00040       Amerisourcebergen Drug Corporation et al

SOUTH CAROLINA

                                   Marion County South Carolina v. Amerisourcebergen
  SC        4       18−00115       Drug Corporation et al

TENNESSEE EASTERN

                                   Hancock County v. Amerisourcebergen Drug
  TNE       2       18−00010       Corporation et al (TV2)

TEXAS NORTHERN

  TXN       1       18−00003       County of Jones v. Purdue Pharma LP et al
  TXN       1       18−00004       County of Throckmorton v. Purdue Pharma LP et al

WEST VIRGINIA NORTHERN

 WVN        5       18−00009       Brooke County Commission v. Purdue Pharma L.P. et al
                                         Opposed 1/31/18
                                   Hancock County Commission v. Purdue Pharma L.P. et
 WVN        5       18−00010
                                   al       Opposed 1/31/18
                                   Harrison County Commission v. Purdue Pharma L.P. et
 WVN        5       18−00011
                                   al       Opposed 1/31/18
 WVN        5       18−00012       Lewis County Commission v. Purdue Pharma L.P. et al
                                         Opposed 1/31/18
                                   Marshall County Commission v. Purdue Pharma L.P. et
 WVN        5       18−00013
                                   al       Opposed 1/31/18
 WVN        5       18−00014       Ohio County Commission v. Purdue Pharma L.P. et al
                                         Opposed 1/31/18
 WVN        5       18−00015       Tyler County Commission v. Purdue Pharma L.P. et al
                                          Opposed 1/31/18
 WVN        5       18−00016       Wetzel County Commission v. Purdue Pharma L.P. et al
                                          Opposed 1/31/18
